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 4
     Attorney for CLARISA ANG
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,    ) No. CR-S-08-318 LKK
 8
                     Plaintiff,       )
 9                                    ) STIPULATION AND
          v.                          ) ORDER TO CONTINUE SURRENDER
10                                    ) DATE FOR CLARISA ANG
     CLARISA ANG,                     )
11
                                      )
12
                     Defendant.       )
     ================================ ) Judge: Hon. Lawrence K. Karlton
13
            It is hereby stipulated between the parties, Assistant United States Attorney Robert Tice-
14

15
     Raskin, and Michael Long, attorney for CLARISA ANG, that CLARISA ANG’s presently set

16   surrender date of December 1, 2013, should be continued until May 1, 2014.
17          The defense represents the following:
18
            (1) The requested modification of her turn-in date is due to the continuing deteriorating
19
     health of her husband and co-defendant Cris Ang. The court addressed Mr. Ang’s request for a
20
     modification of his own sentence due to the same health concerns (See ECF documents 387, 388,
21

22   389 and 391). Mrs. Ang is employed by the California Department of Motor Vehicles (DMV) and

23   her employment provides medical coverage for both her and Mr. Ang. Due to the failing health of
24
     Mr. Cris Ang, he is no longer able to be employed or financially support himself. Mr. Ang is has
25
     undergone recent spinal several surgeries that cost approximately $200,000. Each specialty doctor
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     visit for related follow-up appointments cost $350. Mr. Ang would not be able to afford the medical
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28   care without the DMV insurance. When Ms. Ang surrenders herself she will lose her job and her



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 1   health coverage will then terminate. If Mrs. Ang is no longer employed, Mr. Ang will no longer
 2
     have any medical coverage and he will not be able to pay for any private health care.
 3
            (2) Mr. Ang is no longer able to drive a car – the license was suspended due to his health
 4
     condition. Ms. Ang drives him to his medical appointments. Ms. Ang also takes care of Mr. Ang
 5

 6   on a day-to-day basis, including monitoring and administering his medications.

 7          (3) Clarisa Ang’s own health situation has been deteriorating over the past year. She now
 8
     suffers from diabetes, which has caused diabetic neuropathy (damage to her nerves due to chronic
 9
     high blood pressure) and hypertension.
10
            Medical records for both Cris Ang and Clarisa Ang have been provided to the United States
11

12
     Attorney’s office concerning the medical problems discussed in this request.            Based on the

13   representations of the defense and these records, the government does not oppose the request. In
14   light of the numerous continuances to date, the government will be reluctant to agree to any further
15
     continuances.
16
            We respectfully request that the court order that the presently set surrender date of
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18
     December 1, 2013, be continued until May 1, 2014, at 12:00 p.m.

19   Dated: November 22, 2013                              Respectfully submitted,

20                                                         /s/ Michael D. Long__________
                                                           MICHAEL D. LONG
21
                                                           Attorney for Clarisa Ang
22
     Dated: November 22, 2013                                     BENJAMIN WAGNER
23                                                         United States Attorney
24
                                                           /s/ Robert Tice-Raskin____
25                                                         ROBERT TICE-RASKIN
                                                           Assistant U.S. Attorney
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 6
     THE UNITED STATES OF AMERICA,               ) No. CR-S-08-318 LKK
 7                   Plaintiff,                  )
                                                 ) ORDER
 8
            v.                                   )
 9                                               )
     CLARISA ANG,                                )
10                                               ) Judge: Hon. Lawrence K. Karlton
                     Defendant.                  )
11
     ================================)
12
            UPON GOOD CAUSE SHOWN and the stipulation of the parties, it is ordered that the
13
     Bureau of Prisons surrender date for CLARISA ANG, presently set for December 1, 2013, at FCI-
14
     Dublin be continued to May 1, 2014, at 12:00 p.m. at FCI-Dublin.
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16   Dated: November 25, 2013
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